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                   UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

NATIONAL OILWELL VARCO, L.P.,        §
     Plaintiff                       §      CIVIL ACTION NO. 1:12-CV-00773
                                     §
v.                                   §           Judge Sam Sparks
                                     §
OMRON OILFIELD & MARINE, INC.,       §
    Defendant                        §          JURY TRIAL DEMANDED


     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISQUALIFY
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           National Oilwell Varco, L.P. (“NOV”) files this Response to the Motion to Disqualify

(Doc.No. 100) Raley & Bowick, L.L.P. (“Raley & Bowick”) filed by Omron Oilfield & Marine,

Inc. (“Omron”).

                                       I.      INTRODUCTION

           NOV is suing Omron for willful infringement of U.S. Patent No. 5,474,142 (“‘142

Patent”). Omron offered one of NOV’s employees a salary increase to come to work for Omron

and design an automatic driller that looked and operated exactly like NOV’s AutoDriller.

Omron used its copycat automatic driller to steal the business of one of NOV’s largest

customers, making many millions of dollars in doing so. NOV’s damages exceed $18 million

dollars.       The evidence shows that Omron willfully infringed NOV’s ‘142 Patent, making

Omron’s potential liability up to three times this amount.1

           In an effort to derail the train of this lawsuit, Omron filed a frivolous motion to disqualify

Raley & Bowick. Omron’s eleventh hour tactical maneuver is meant to:

              Deprive NOV of its fundamental right to counsel of its choice;

              Attempt to pressure NOV to settle by rendering hundreds of thousands of

               dollars of attorney work product meaningless and forcing NOV to incur

               hundreds of thousands of additional dollars in hiring new counsel;

              Delay NOV’s recovery and justice; and

              Create tremendous prejudice against NOV by forcing it to abandon long-time

               counsel that has been successfully litigating the ‘142 Patent on its behalf in

               multiple cases around the country over a decade.




1
  Under 35 U.S.C. § 284, if the jury finds willful infringement, this Court has the discretion to
triple the amount of any damage award.
                                                     1
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Omron’s motion is based on innuendo and completely disregards the evidence. Omron does not

even attempt to allege actual prejudice. NOV and its counsel should be allowed to proceed to

trial as scheduled.

         In 2006, Omron’s president Robert Bost hired John Osha of Osha Liang, L.L.P. (“Osha

Liang) to write an opinion that the ‘142 Patent was invalid. In 2011, Bost hired another attorney

with the same firm, Lee Huddleston, to update this opinion. Omron has now produced both of

these opinions, and communications relating to these opinions, to support an “advice of counsel”

defense to the willful infringement claim.2 Omron’s assertion of this defense waives all claimed

confidences relating to these opinions, including the emails attached to Omron’s Motion.3

         While these validity opinions were being authored, Brian Wunder was a contract attorney

at Osha Liang. He was one of several lawyers who represented Omron in an entirely different

case, Canrig Drilling Technologies Ltd. v. Omron Oilfield & Marine, Inc. and Helmerich &

Payne, Inc. (Case No. 6:09-cv-414 in the Eastern District of Texas)(hereinafter referred to as

“Canrig.”). Canrig involved a different patent, different tools, and a different opposing party.

Wunder never analyzed the validity of NOV’s ‘142 patent, and never considered whether Omron

infringed it. To this day, he has never even seen the ‘142 patent.

         On August 23, 2012, NOV sued Omron for infringing the ‘142 Patent. Raley & Bowick,

whose lawyers have represented NOV regarding the ‘142 Patent over a decade, filed the

complaint. Omron declined to hire Osha, Huddleston or Wunder to represent it in this case.

Instead, Omron chose Matthew Lowrie from Massachusetts and Kimberly Dodd from

Wisconsin.




2
    Echostar Commc’ns Corp., 448 F.3d 1294 (Fed. Cir. 2006).
3
    Id.
                                                 2
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         On January 14, 2013, five months after this lawsuit was filed, Wunder began working

with Raley & Bowick. Wunder advised Omron’s counsel Osha Liang of his plans, but Omron

never objected to Wunder joining Raley & Bowick. Wunder did zero work on this case with

Raley & Bowick, and left the firm in May, 2014. Now, with discovery almost complete,

evidence stacking up, and trial rapidly approaching, Omron decided to file this motion to throw a

wrench in this lawsuit. The Rules are designed to make sense. They cannot be used to further

Omron’s goal. There will be tremendous prejudice to NOV if Raley & Bowick is disqualified,

and there will be no prejudice to Omron if its motion is denied.

         Omron’s motion incorrectly cites Texas Disciplinary Rule of Professional Conduct

1.09(a). That applies to situations where the lawyer is still with the second law firm. Since

Wunder has left Raley & Bowick, Rule 1.09(c) is the applicable provision. To violate this rule,

there must be a reasonable probability that client confidences will be disclosed by Raley &

Bowick’s continued representation. This is impossible. Wunder no longer works here, and he

testified during his recent deposition that he never had any confidences to disclose in the first

place.

         Even under a Rule 1.09(a) analysis, disqualification would be highly improper. Unlike

Omron’s vague unsworn declarations, Brian Wunder testified under oath in deposition with

specificity that (1) he was never disclosed confidential information at Osha Liang about matters

pertaining to this lawsuit; and that (2) he never worked on this case at either firm:.

         Q (by Mr. Raley):     Rule 1.09(a)(3) we’ll read the whole thing in context.
                “Without prior consent, a lawyer who personally has represented a client
                in a matter shall not thereafter represent another person in a matter adverse
                to the former client if it is the same or substantially related matter,”
                correct?

         A:     That’s what it reads.



                                                  3
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       Q:     Yes. Did you, Brian Wunder as a lawyer personally formerly represent
              Omron regarding an analysis of the ‘142 Patent, whether or not it’s valid,
              whether or not Omron infringes?

       A:     No.

       Q:     Did you ever represent Omron in a substantially related matter to the 142
              NOV patent, whether or not it’s valid, whether or not Omron infringes?

       A:     No.4

       *                                   *                                    *

       Q(by Mr. Raley):     Have you ever read the Bowden 142 Patent that NOV has
             purchased?

       A:     To the best of my – to the best of my knowledge, I have never read the
              patent.

       Q:     Have you ever even glanced at the claims of the 142 Patent?

       A:     Not to my knowledge.

       Q:     Have you ever compared the claims to Omron’s automatic driller tool?

       A:     To my knowledge, no.5

       *                                   *                                    *

       Q(by Mr. Powers): What role did you play in monitoring either the
             reexamination proceeding, litigation with Pason, or any other NOV-
             related litigation?

       A:     None.6

       *                                   *                                    *

       Q(by Mr. Raley):   You did not personally provide representation to Omron
             regarding an analysis of the 142 Patent’s validity or whether or not
             Omron infringed it, correct?

       A:     That is correct.


4
  Ex. A (Wunder Depo. at 57:6 – 23).
5
  Ex. A (Wunder Depo. at 34:12 – 25).
6
  Ex. A (Wunder Depo. at 86:10 – 14).
                                               4
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       Q:      You were personally not involved in detailed conversations regarding
               either of those issues when you were at Osha, correct?

       A:      That is correct.7

           *                                *                                    *

       Q(by Mr. Raley):   So bottom line, you never worked on the NOV versus
             Omron matter when you were at Osha Liang, correct?

       A:      That’s correct.

       Q:      You never worked on the NOV versus Omron matter when you were at
               Raley & Bowick?

       A:      That’s correct.8

       *                                    *                                    *

       Q(by Mr. Raley):      So to sum up, you had no client confidences about the 142
             validity prior art analysis to share with us because you were not involved
             with those at Osha Liang?

       A:      That’s correct.

       Q:      You could not share them with us even if you were the sort of unethical
               person that would do something like that and we were the sort of unethical
               people that would listen. You could not share them with us because you
               didn’t know them?

       A:      That’s correct.

       Q:      And you left us five months ago?

       A:      That’s true. 9

       Omron bears an extremely high burden of proof to disqualify Raley & Bowick. Before

filing, Omron was required to meticulously examine all of the evidence.10 Omron completely




7
  Ex. A (Wunder Depo. at 113:9 – 16).
8
  Ex. A (Wunder Depo. at 114:17 – 23).
9
  Ex. A (Wunder Depo. at 121:9 – 122:7).
                                                  5
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ignored Wunder’s deposition and fired off its motion. Wunder’s conclusive testimony, standing

alone, precludes disqualification.11 The evidence also shows that Omron sat on the documents it

now uses to allege conflict for years, waiting to spring them if things did not go Omron’s way.

Omron long ago waived any right to even bring up this issue. Moreover, even if Wunder

possessed any confidences about Osha’s analysis of the ‘142 patent’s validity (which he testified

he doesn’t), those confidences have been waived by Omron’s assertion of the advice of counsel

defense.

       The Disciplinary Rules were enacted to protect clients with real confidences and real

concerns. Nowhere in its entire motion does Omron disclose a specific confidence or a specific

prejudice to Omron if Raley & Bowick continues to represent NOV.               In contrast, NOV’s

attached affidavit establishes that Omron’s tactical ploy, if successful, could cost NOV millions

of dollars and create extreme prejudice.12 For many reasons, described below, Omron’s Motion

should be denied.

      II.     TEXAS DISCIPLINARY RULE OF PROFESSIONAL CONDUCT 1.09

       Disciplinary Rule 1.09 (emphasis added) states:

       (a)     Without prior consent, a lawyer who personally has formerly represented a
               client in a matter shall not thereafter represent another persons in a matter
               adverse to the former client:




10
   In re Texas Windstorm Ins. Ass'n, 417 S.W.3d 119, 129 (Tex. App.—Houston [1st Dist.] 2013,
no pet.)(“To prevent the abusive filing of such a motion for tactical reasons, the court must
carefully evaluate the motion and record to determine if disqualification is warranted.”)
11
   Omron’s disregard for the law, and its attack on the integrity of Wunder and NOV’s counsel,
is sanctionable conduct under Rule 11. NOV asks the Court to remember Omron’s motion if
sanctions are requested in the future.
12
   Ex. B (American Intellectual Property Law Association Report of Economic Survey). This
report shows median litigation costs through the end of discovery in a patent litigation suit are $3
million, and median all-inclusive costs are $5 million. NOV’s new counsel would have to redo
years of litigation. See Ex. T (NOV Affidavit).
                                                 6
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               (1)     in which such other person questions the validity of the lawyer's
                       services or work product for the former client;

               (2)     if the representation in reasonable probability will involve a
                       violation of Rule 1.05 [“Confidentiality of Information”]; or

               (3)     if it is the same or a substantially related matter.

       (b)     Except to the extent authorized by Rule 1.10, when lawyers are or have
               become members of or associated with a firm, none of them shall
               knowingly represent a client if any one of them practicing alone would be
               prohibited from doing so by paragraph (a).

       (c)     When the association of a lawyer with a firm has terminated, the
               lawyers who were then associated with that lawyer shall not
               knowingly represent a client if the lawyer whose association with that
               firm has terminated would be prohibited from doing so by paragraph
               (a)(1) or if the representation in reasonable probability will involve a
               violation of Rule 1.05.

Omron has utterly failed to meet its burden of proof that Raley & Bowick’s representation

violates this rule. The evidence is contrary.

                                           III.    FACTS

A.     Wunder did No Work Relating to the ‘142 Patent Prior to Joining Raley & Bowick

       Sometime prior to May 2, 2006, Omron’s president Robert Bost requested that John Osha

of Osha Liang provide an opinion regarding whether NOV’s United States Patent No. 5,474,142

is valid.13 Mr. Osha provided an opinion to Omron that recited the first reexamination of the

‘142 Patent in the PTO, a public record.

       In 2006, Wunder went to work for Osha Liang as a contract attorney, being paid only for

the time he billed.14 Wunder kept meticulous time records on all work he performed.15

       In January 2010, Wunder agreed to be one of eight lawyers representing Omron in

Canrig, which involved a completely unrelated patent, tool, and opponent.16        Omron was

13
   Ex. C (Wunder Depo. Exhibit 28).
14
   Ex. A (Wunder Depo 101:11 – 18).
15
   Ex. A (Wunder Depo. at 30:13 – 31:4).
                                                  7
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accused of infringing Canrig’s U.S. Patent No. 6,050,348 for: “A method and apparatus for

precisely controlling [with a top drive] the rotation of a drill string.”17 This technology has

nothing to do with NOV’s U.S. Patent ‘142 Patent on an automatic driller. Omron argues in its

motion to disqualify – with a straight face - that these two cases are substantially similar.18

However, in responding to NOV’s previous discovery requests about the Canrig case,

Omron admitted the opposite: “[T]he Canrig case involved technology for the rotation of the

drill string which [sic, is] irrelevant to the ‘142 Patent.”19 Omron is judicially estopped from

changing its position. Omron’s flip flop heavily erodes the credibility of its motion.

        On October 12, 2010, Wunder sent an email setting up a conference call with his Canrig

clients and other lawyers about the “Delta-P Issue.”20 Six days later, Wunder was copied on an

email between different lawyers discussing a potential conference call “re Delta P.” Wunder

testified that if he ever participated in any calls pertaining to the ‘142 Patent, he would have

billed for it:

        Q(by Mr. Raley):    If there are no billing records reflecting any work by you
              on the 142 Patent while at Osha, would that be evidence that you did no
              such work?

        A:       To me that would be compelling circumstantial evidence that I did not
                 do any work on that issue.




16
   Canrig Drilling Technologies Ltd. v. Omron Oilfield & Marine, Inc. and Helmerich & Payne,
Inc. (Case No. 6:09-cv-414 in the Eastern District of Texas). Ex. D (Canrig Docket Sheet).
17
   Ex. E (Canrig’s U.S. Patent No. 6,050,348).
18
   See Motion at f.n. 6.
19
   Ex. F (July 18, 2014 Email from K. Dodd); See also Ex. G (Omron’s August 18, 2014
objections to NOV’s interrogatories)(“Omron objects to this interrogatory because the Canrig
case is neither relevant to any party’s claims or defenses nor reasonably calculated to lead to the
discovery of admissible evidence. The Canrig case involved technology related to the rotation
of the drill string. This case involves technology related to the release of the drill string.”)
20
   Ex. H (Wunder Depo. Exhibit W8).
                                                 8
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       Q:     And that would include meetings and conferences and telephone calls
              analyzing the NOV 142 Patent. If you had participated in those, you
              would have billed for them, correct?

       A:     That’s my practice, yes.21

       *                                    *                                    *

       Q(by Mr. Raley):    If you had been involved in a meeting where the NOV 142
             Patent was discussed and analyzed, would you have billed for it?

       A:     Yes.22


       *                                    *                                    *

       Q (by Mr. Raley):       And if you had participated in this call-in meeting and if
              the NOV 142 Patent was discussed in this call-in meeting, you would have
              billed for it because Osha had an open file available for billing?

       A:     I would have recorded my time.23

       *                                    *                                    *

       Q(by Mr. Raley):   Well, you would have recorded time for participating in a
             meeting where the NOV 142 matter was analyzed for Osha’s client,
             Omron?

       A:     I would have recorded my time and probably – if there were not a file,
              specific file for that work, then it would have been recorded to what’s
              called the general file.

       Q:     And your billing entry would have been detailed enough to clearly show
              what happened in the – in the [sic] – in the discussion that there was an
              analysis of the ‘142 Patent. You wouldn’t just say “phone call”, you
              would say what it was about?

       A:     It is my practice when working on the patent to identify the patent by
              number.24




21
   Ex. A (Wunder Depo. at 31:14 – 23).
22
   Ex. A (Wunder Depo. at 43:8 – 11).
23
   Ex. A (Wunder Depo. at 45:5 – 9).
24
   Ex. A (Wunder Depo. at 45:20 – 46:8).
                                                9
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       Omron’s attorneys have confirmed that they have looked and no such time records

exist.25 This is conclusive evidence that Wunder never participated in any conference calls or

meetings about the ‘142 Patent.26

       On February 14 - 16, 2011, Wunder was merely copied on an email chain from Omron to

other lawyers.27 These emails did not discuss this litigation. Wunder testified that if he had been

involved in answering or discussing these emails that he would have billed for it.28 Despite

Omron’s recent search of Osha Liang’s records, no such billing records exist.29

       On June 11, 2011, Omron sent an email describing public information about NOV’s

litigation against Pason and copied Wunder on it.30 After this, Wunder was taken off the email

chain, and a call was set up between the lawyers actually involved in the issue. Wunder testified

he was never involved in any discussions about NOV’s ‘142 Patent. He does not even know if

they even ever happened:

       Q(by Mr. Raley):   Please confirm, Mr. Wunder, that you are not copied by
             Lee Huddleston on his e-mail to Robert Bost setting up this important
             conference?

       A:      I’m not copied on that e-mail.

       Q:      This matter that is too complex to discuss over e-mail that he wants to
               setup a conference to discuss, he doesn’t copy you on the e-mail about
               setting up the conference, does he, sir?

       A:      I’m not copied on the e-mail.




25
   Exhibit I (October 14, 2014 Email from Matt Powers).
26
   This is not a case where there could be some meetings that were not billed. Wunder testified
that if a meeting happened there would be a time entry (whether it was billed and paid or not) to
show it occurred.
27
   Ex. J (Wunder Depo. Exhibit W10).
28
   Ex. A (Wunder Depo. at 48:24 – 50:15).
29
   Ex. I (October 14, 2014 Email from Matt Powers).
30
   Ex. K (Wunder Depo. Exhibit W11).
                                                10
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       Q:     And you have no memory of being involved in any such conference, do
              you, sir?

       A:     I do not.

       Q:     And if you had been involved in such a conference, you would have as a
              matter of routine billed for it?

       A:     I would have recorded my time.31

       *                                   *                                  *

       Q(by Mr. Powers): You don’t, I take it, have a present-day recollection of the
             meeting that followed, if a meeting followed?

       A:     I have no recollection that we ever had a meeting to discuss NOV’
              patent and what, if anything, to do about it or what our response
              would be. I don’t ever remember that happening. If it did, I wasn’t
              in it.32

       On August 5, 2011, Canrig v. Omron was dismissed when the parties settled.33 [When

NOV asked Omron in this case for a copy of the Canrig settlement agreement, Omron

refused to produce it, saying it was “neither relevant nor likely to lead to the discovery of

admissible evidence.”]34

       In December of 2011, Omron’s Robert Bost requested an updated opinion from Osha

Liang regarding the validity of the ‘142 Patent.35 Wunder recently testified that he had no

involvement in creating this opinion and had no knowledge of the contents of this opinion.36

Moreover, this very opinion has been produced by Omron! Omron relies on it in this case. Any

confidences regarding the opinions have been waived.37



31
   Ex. A (Wunder Depo. at 53:7 – 22).
32
   Ex. A (Wunder Depo. at 77:13 – 20).
33
   Ex. D (Canrig Docket Sheet).
34
   Ex. G (Omron’s August 18, 2014 objections to NOV’s interrogatories).
35
   Ex. L (Hopwood Deposition Exhibit 29).
36
   Ex. A (Wunder Depo. at 11:17 – 22).
37
   Echostar Commc’ns Corp., 448 F.3d 1294 (Fed. Cir. 2006).
                                               11
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B.     Wunder’s Transfer to Raley & Bowick Did Not Risk Disclosure of Confidential
       Information or Otherwise Create a Conflict

       Omron alleges Wunder received the following information, with no detail, at Osha Liang:

(1) Omron anticipated being sued by NOV for its infringing products; and (2) Omron thought

NOV’s patents were invalid. For the following reasons, neither fact justifies disqualification.

       On August 23, 2012, NOV sued Omron for infringement of the ‘142 Patent.38 NOV was

and is represented by Raley & Bowick. Raley & Bowick’s first discussion with Wunder about

his potential employment was at least four months later.39 Raley & Bowick’s attorneys working

on this matter have provided the affidavits confirming they never talked to Wunder about

anything related to the ‘142 Patent or Omron prior to (or after) filing this lawsuit.40

       On October 19, 2012, Omron filed an answer, affirmatively putting NOV (and Raley &

Bowick) on notice that it thought NOV’s ‘142 Patent was invalid.41 On this date, Omron’s

defenses were made known to Raley & Bowick.42 This was three months before Wunder joined

Raley & Bowick. [Note: Omron further disclosed all of its defenses by filing a petition for Inter

Partes Review in the PTO, which has been denied, and by producing Osha Liang’s written

invalidity opinions.]

       In late December 2012, Wunder contacted Raley & Bowick about a potential joint

venture in a patent infringement lawsuit.43 Around this time, discussion began about Wunder

potentially coming to work for Raley & Bowick.




38
   Doc.No. 1.
39
   Ex. M (R&B Affidavits).
40
   Ex. M (R&B Affidavits).
41
   Doc.No. 9 at 3 (Omron’s Second Affirmative Defense) & 6 (Omron’s Second Counterclaim).
42
   Ex. M (R&B Affidavits).
43
   Ex. A (Wunder Depo. at 66:9 – 21).
                                                 12
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       On January 14, 2013, Wunder came to work for Raley & Bowick.44 Wunder testified that

he did a conflict check with Raley & Bowick partners before he started.45 During this conflict

check, Raley & Bowick disclosed that they represented NOV in an infringement case over the

‘142 Patent against Omron. Wunder testified that this is the first time he ever learned about a

lawsuit against Omron by NOV regarding the ‘142 Patent.46 Wunder never disclosed knowing

anything about the ‘142 Patent to Raley & Bowick. Even if he wanted to, he could not do so

because he had never worked at Osha Liang on any matters relating to the ‘142 Patent and had

nothing to disclose:

       Q(by Mr. Raley):     Okay. So, the fact you didn’t disclose to us anything about
             you working on the NOV 142 Patent while you were at Osha is evidence
             that you didn’t do that kind of work at Osha, correct?

       A:      It is circumstantial evidence of that, that is correct.

       Q:      Thank you. All right. And the reason for that is because if you had done
               that kind of work, you would have told us that if you had done that kind of
               work, correct?

       A:      If I had done work, the kind that you suggest in your question, I
               would have brought that out if I knew you had an NOV/Omron case.47

       Wunder only disclosed one Omron matter he had worked on for Omron, the (as admitted

by Omron) irrelevant Canrig case. Out of an abundance of caution, and because they needed his

help on other matters, Raley & Bowick decided Wunder should not work on the NOV v. Omron

case. Although this precaution was not required under the Rules, because these are completely




44
   Ex. M (R&B Affidavits).
45
   Ex. A (Wunder Depo. at 86:20 – 88:20).
46
   Ex. A (Wunder Depo. at 88:6 – 20).
47
   Ex. A (Wunder Depo. at 26:11 – 24).
                                               13
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unrelated matters, Raley & Bowick wanted to avoid any appearance of impropriety.48 Wunder

never did any work on the NOV v. Omron matter:

       Q(by Mr. Raley):   Please confirm, Mr. Wunder, that while you were at Raley
             & Bowick you never did any work on the NOV versus Omron matter.

       A:      Zero.

       Q:      Did you participate in any strategy discussions whatsoever regarding that
               matter, NOV versus Omron, while at Raley & Bowick?

       A:      Never.

       Q:      Did you prepare any expert witnesses?

       A:      No.

       Q:      Did you draft any motions or pleadings or briefing?

       A:      No.

       Q:      You said zero; that was the word you used earlier?

       A:      Zero.49

       Wunder’s prior work at Osha Liang on the Canrig matter did not involve any confidential

matters that relate to the present case:

       Q (by Mr. Powers): Did you believe that the information that you acquired
              during the course of your past representation of Omron [in Canrig], if
              available to those who were prosecuting NOV’s case, would be of use to
              them in their lawsuit?

       A:      No. That’s a very broad question, but the answer is no.

       Q:      Sitting here today, is your view any different?

       A:      No. With the production of the [Osha Liang validity] opinions, it
               would seem to be that, if anything, there would be less scrutiny over
               my having worked here or having worked here in the past.50


48
   Ex. A (Wunder Depo. at 88:21 – 89:8).
49
   Ex. A (Wunder Depo. at 18:10 – 25).
50
   Ex. A (Wunder Depo. at 89:25 – 90:12).
                                                14
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          On February 5, 2013, Wunder informed Osha Liang attorneys that he had started working

at Raley & Bowick.51 According to USPTO records, Osha Liang continued to represent Omron

in patent prosecution matters through September of 2013 (Power of Attorneys signed by

Omron’s president Robert Bost).52 Knowledge about Wunder’s employment at Raley & Bowick

is imputed to Omron through its attorneys.53 Omron sat on readily available information for

twenty months before filing this motion.

          On February 7, 2013, the parties filed a joint agreed scheduling order, entered by the

Court, that focused on claim construction phase.54 The parties briefed claim construction issues

before the Special Master and had a Markman hearing on the same.

          On August 30, 2013, this Court entered a Markman order ruling on claim construction

issues.55

          On September 5, 2013, this Court entered a scheduling order setting the deadline for

discovery on October 3, 2014, the dispositive motion deadline for December 1, 2014, and the

trial for April of 2015.56 The discovery deadline has since been extended to November 14,

2014.57

          On September 13, 2013, NOV sent interrogatories and requests for production to Omron.

On October 25, 2013, Omron responded to NOV’s interrogatories asking when Omron first




51
   Ex. N (Wunder Depo. Exhibit W5) and Ex. A (Wunder Depo. at 16:11 – 17:16).
52
   Ex. O (PTO Records).
53
   McMahon v. Greenwood, 108 S.W.3d 467 (Tex. App. – Houston [14th Dist.] 2003).
54
   Doc.No. 23.
55
   Doc.No. 54.
56
   Doc.No. 55.
57
   Doc.No. 80.
                                                15
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learned of NOV’s ‘142 Patent.       This discovery request placed a duty on Omron, and its

attorneys, to find this information.58 Omron responded:

       [O]mron has known about the ‘142 patent since at least 2006. Omron does not
       recall exactly when it became aware of the ‘142 patent or how. Omron identifies
       the following individual as most knowledgeable about this response: Robert
       Bost.59

NOV’s specific request for production at this time stated:

       If Omron plans to present an opinion of counsel defense [to willful
       infringement], produce all documents relating to this opinion, produce the
       opinion, producing billing records and invoices for the opinions, and produce
       internal communication about the opinion.60

Omron responded on October 25, 2013: “[O]mron will not produce any documents responsive

to this request.”61

       October 2013 is the absolute last date that Omron knew or should have known about all

documents that Osha Liang maintained relating to the invalidity opinions. If Robert Bost did not

disclose these opinions and related documents to his current counsel, he violated his discovery

obligations. If Omron’s counsel were provided the invalidity opinions and related documents,

and chose to withhold this information in responding to NOV, they violated their discovery

obligations and their duties as officers of the Court. Under either scenario, Omron and its

employees apparently chose to conceal this information until now. After laying low for two

years, they waited until the last stage of litigation, after Omron waived the attorney client

privilege and produced validity opinions, to claim that Wunder, who never worked on a ‘142

patent issue at either firm, and left Raley & Bowick five months ago, is a sufficient basis to

disqualify NOV’s decade-long ‘142 patent litigation counsel.


58
   Fed. R. Civ. P. 26, 33, & 34.
59
   Ex. P (Omron’s Response to NOV’s First Interrogatories – October 25, 2013).
60
   Ex. Q (Omron’s Response to NOV’s First RFP – October 25, 2013).
61
   Id.
                                                16
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       If there was ever a bogus “conflict” argument, this is it. The law does not allow the

Disciplinary Rules to be used in such a manner.62

                     IV.    OMRON’S MOTION SHOULD BE DENIED

A.     Omron Bears a Heavy Burden to Prove Disqualification

       Texas federal courts consider the Texas Disciplinary Rules of Professional Conduct, the

ABA Model Rules of Professional Conduct, and their local rules in determining whether

disqualification is appropriate.63 “Motions to disqualify are ‘substantive motions affecting the

rights of the parties and are determined by applying standards developed under federal law.’”64

Texas cases interpreting the disciplinary rules are not binding, but this Court may look to them

for guidance.65

       Disqualification of a party’s counsel is “a severe remedy.”66 “It can result in immediate

and palpable harm, disrupt trial court proceedings, and deprive a party of the right to have

counsel of choice.”67 “Disqualification can delay proceedings in the trial court, require the client

to engage a successor attorney, and, in appropriate cases, deprive the client of work product done

on his behalf by the disqualified attorney.”68       “Because of the serious consequences of

disqualification of opposing counsel, such motions can be misused for delay or to exert




62
   In re Texas Windstorm Ins. Ass'n, 417 S.W.3d 119, 129 (Tex. App.—Houston [1st Dist.] 2013,
no pet.) (“The law strongly discourages the use of motions to disqualify as tactical weapons in
litigation.” )
63
   In re ProEducation Int’l, Inc., 587 F.3d 296, 299 – 300 (5th Cir. 2009).
64
   M-I LLC v. Stelly, No. 4:09-cv-1552, 2010 U.S. Dist. LEXIS 52736, *3 (S.D. Tex. 2010).
65
    See, e.g, OneBeacon Ins. Co. v. T. Wade Welch & Associates, 2012 WL 393309, at *5 (S.D.
Tex. 2012).
66
   In re Nitla S.A. de C.V., 92 S.W.3d 419, 422 (Tex. 2002).
67
   Id.
68
   In re Texas Windstorm Ins. Ass'n, 417 S.W.3d 119, 129 (Tex. App.—Houston [1st Dist.] 2013,
no pet.)
                                                17
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inappropriate leverage to force a settlement.”69      “The law strongly discourages the use of

motions to disqualify as tactical weapons in litigation.”70 This is exactly what Omron is trying to

do in this case.

        Omron has the burden of proof to establish that disqualification is required in this case.71

“To prevent the abusive filing of such a motion for tactical reasons, the court must carefully

evaluate the motion and record to determine if disqualification is warranted.”72 Omron cannot

meet its burden. Further, NOV has presented overwhelming evidence that disqualification is

improper.

B.      Rule 1.09(c) is the Relevant Portion of Rule 1.09, and It in No Way Allows
        Disqualification of Raley & Bowick

        Wunder’s association with Raley & Bowick terminated when he left the firm on May 1,

2014. Rule 1.09(a) and (b) relate to situations where the alleged conflicted lawyer (Wunder) is

still continuing to work with a firm on a matter. Even under those sections, disqualification is

improper. In light of the evidence, however, Rule 1.09(c) is the section which should be used

“when the association of a lawyer with a firm has terminated.”

        The appropriate interpretation of Rule 1.09(c) to this case is as follows:

        When the association of a lawyer [Wunder] with a firm [Raley & Bowick] has
        terminated, the lawyers who were then associated with that lawyer [Raley &
        Bowick] shall not knowingly represent a client [NOV] if the lawyer [Wunder]
        whose association with that firm [Raley & Bowick] has terminated would be
        prohibited from doing so by paragraph (a) (1) [legal malpractice] or if the
        representation in reasonable probability will involve a violation of Rule 1.05
        [violation of client confidences].




69
   Id (citing Industrial Acc. Bd. of State of Tex. v. Spears, 797 S.W.2d 55, 658 (Tex. 1990).
70
   Id.
71
   In re EPIC Holdings, Inc., 985 S.W.2d 41, 60 (Tex. 1998).
72
   In re Texas Windstorm, 417 S.W.3d at 129.
                                                 18
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         Omron agrees that Rule 1.09(a)(1) (legal malpractice) is not applicable, so this Court

only has to determine whether there is a reasonable probability that client confidences will be

violated by Raley & Bowick’s continued representation of NOV. Any such violation of client

confidences would be impossible under the facts for three reasons: (1) Wunder never had any

relevant client confidences to begin with; (2) Raley & Bowick would have never asked him for

client confidences if he had them; and (3) Wunder would not have disclosed them:

         Q(by Mr. Raley):      Do you agree that it would be impossible for you to
               disclose confidential information to Raley & Bowick if you did not possess
               confidential information?

         A:     That’s logical; agreed.73

         *                                    *                                     *

         Q(by Mr. Raley):      So with that in mind, let’s look at 1.09 together (c): “When
               the association of lawyer” – Brian Wunder – “with a firm” – Raley &
               Bowick – “has terminated, the lawyers who were then associated with that
               lawyer” – Raley & Bowick – “shall not knowingly represent a client” –
               NOV – “if the lawyer whose association with that firm has terminated
               would be prohibited by doing so by paragraph (a)(1)” – which I represent
               to you is not applicable – or would involve – or “in reasonable probability
               will involve violation of Rule 1.05”, client confidentiality. Did I read that
               correctly?

         A:     You did.

         Q:     Do you have an opinion, sir, as to whether or not there is reasonable
                probability that Raley & Bowick’s continuation to represent NOV in a
                matter against Omron will involve a violation of Rule 1.05 client
                confidences? Do you agree that there is no such reasonable probability?

         A:     You asked me if I have an opinion and I –

         Q:     What is your opinion?

         A:     I do have an opinion. And my opinion is that it would be impossible
                because I never disclosed anything in my head about Omron to
                anyone at Raley & Bowick.74


73
     Ex. A (Wunder Depo. at 36:19 – 22).
                                                  19
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         Q:      So your opinion is it would be impossible for Raley & Bowick’s continued
                 representation of NOV in the Omron matter to involve a violation of Rule
                 1.05 client confidences?

         A:      Vis-à-vis me, yes.

         Q:      And you left Raley & Bowick in May of 2014?

         A:      That’s correct.

         Q:      And have had no discussion with us regarding the NOV versus Omron
                 matter or any client confidences or anything since you left?

         A:      That’s correct.

         Q:      And you have no intention of ever having such discussions with us?

         A:      I do not.

         Q:      Even if we ask you about them, which we won’t, you wouldn’t tell us
                 because you keep client confidences?

         A:      If I had client confidential information in my head, it will remain
                 there.

         Q:      And as you’ve described to us, you don’t even have any because you didn’t
                 do work on the NOV 142 Patent while at Osha, correct?

         A:      That’s correct.

         Q:      So that’s another reason it would be impossible to violate client
                 confidences. There are actually several reasons. One is you would not
                 never do it, we would never ask for it. And the other is you don’t have
                 them to begin with, correct?

         A:      Correct.75

         According to Omron’s Motion, the only alleged confidential information in Wunder’s

possession when he came to Raley & Bowick was “the potential for a lawsuit by NOV against




74
     Ex. A (Wunder Depo. at 60:17 – 61:3).
75
     Ex. A (Wunder Depo. at 59:4 – 61:9).
                                                20
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Omron based on the ‘142 Patent …”76 Wunder came to work for Raley & Bowick five months

after NOV sued Omron. There were no confidences about the “potential” for a lawsuit. The

lawsuit was already a public record. Omron hired another law firm to handle the lawsuit – Foley

& Lardner – who disclosed all of Omron’s litigation strategies in its answer.77 Omron’s defenses

became public knowledge long before Wunder came to Raley & Bowick.

       No relevant confidential information was ever disclosed to Wunder.            This is why

Omron’s declarations are so vague. Wunder’s specific, sworn testimony completely trumps

Omron’s declarations. Wunder confirmed he was never involved in any pre-suit “planning,” as

alleged by Omron:

       Q (by Mr. Powers): And did you, in fact, participate with Lee Huddleston and
              Mike Hartmann in considering and coming up with a plan as directed?

       A:     No.78

       *                                    *                                    *

       Q(by Mr. Raley):     If you attended a meeting or a conference at Osha Liang
             for the purposes of analyzing the 142 Patent’s validity, as a matter of
             routine, would you have billed for it?

       A:     Yes.

       Q:     If you had attended a meeting or conference for the purposes of analyzing
              whether or not Omron infringed the 142 Patent, as a matter of routine,
              would you have billed for it?

       A:     That would have been my practice, yes.




76
   Motion at 3.
77
   Omron’s invalidity arguments were also completely disclosed when Omron petitioned the
PTO for inter partes review to examine the validity of NOV’s ‘142 Patent, which they lost.
Omron has produced and is relying on the Osha Liang validity opinions (based on the same
arguments rejected by the PTO) in this litigation. There is absolutely no confidential
information.
78
   Ex. A (Wunder Depo. at 84:3 – 6).
                                                21
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       Q:      If you had done any work on either of those matters, validity or
               infringement personally as a matter of routine, would you have billed for
               it?

       A:      Yes.

       Omron admits that it searched for billing records and none exist. There was, is, and will

never be any risk of confidential information being disclosed to Raley & Bowick. Omron cannot

meet its burden to rebut the overwhelming evidence that disqualification of Raley & Bowick

would be wrong.

       Omron claims that the fact that Wunder no longer works at Raley & Bowick “does not

change the outcome” relating to disqualification.79 Omron fails to mention that the cases it cites

relate to lawyers that actually worked on the other side of a case and were proven to have

confidential information.80 Omron cannot prove either of these elements.

C.     Even if Rules 1.09(a) and (b) Applied, Disqualification would be Improper Because
       Wunder Never Worked on a “Substantially Related Matter” for Omron

       Rule 1.09(a) and (b) do not apply because they refer to continued representation - as if

Wunder still worked at Raley & Bowick. As shown above, Rule 1.09(c) is the correct section of

the rule to use, and it plainly does not allow for disqualification. However, even if Rules 1.09(a)

and (b) applied, Omron would still have to prove “that the present and former matters are so

‘substantially related’ that confidential client information may be presumed to have been

disclosed or that such information was actually disclosed by counsel.”81 To show matters are

“substantially related,” the movant must establish: (1) an actual attorney-client relationship; and

(2) “a ‘substantial relationship between the subject matter of the previous relationship and the


79
   Motion at 9 – 10.
80
   Id.
81
   Commonwealth Sci. & Indus Research Org., 297 Fed. Appx. at 975 (citing Am. Airlines, 972
F.2d at 614 – 15); Tex. Serenity Acad., Inc. v. Glaze, 2012 U.S. Dist. LEXIS 172347, *5 – 6
(S.D. Tex. 2012).
                                                22
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current dispute.”82 “A ‘substantial relationship’ may be found only after the moving party

delineates with specificity the subject matters, issues, and causes of action common to the prior

and current representations.”83 Omron has failed to meet its burden. Indeed, the evidence is

contra.

          1.     Wunder testified that he never worked on any matter relating to the ‘142
                 Patent while at Osha Liang

          Wunder confirmed, under oath, that he never worked on any matter relating to the ‘142

Patent while at Osha Liang:

          Q (by Mr. Raley):     Rule 1.09(a)(3) we’ll read the whole thing it [sic] in
                 context. Without prior consent, a lawyer who personally has represented
                 a client in a matter shall not thereafter represent another person in a
                 matter adverse to the former client if it is the same or substantially related
                 matter, correct?

          A:     That’s what it reads.

          Q:     Yes. Did you, Brian Wunder as a lawyer personally formerly represent
                 Omron regarding an analysis of the ‘142 Patent, whether or not it’s valid,
                 whether or not Omron infringes?

          A:     No.

          Q:     Did you ever represent Omron in a substantially related matter to the 142
                 NOV patent, whether or not it’s valid, whether or not Omron infringes?

          A:     No.84

          *                                     *                                      *

          Q(by Mr. Powers): What role did you play in monitoring either the
                reexamination proceeding, litigation with Pason, or any other NOV-
                related litigation?

          A:     None.85


82
   Tex. Serenity Acad., 2012 U.S. Dist. LEXIS 172347, at *6 (citing Am. Airlines, 972 F.2d at
614).
83
   Id. at *7.
84
   Ex. A (Wunder Depo. at 57:6 – 23).
                                                    23
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       *                                   *                                    *

       Q(by Mr. Raley):   You did not personally provide representation to Omron
             regarding an analysis of the 142 Patent’s validity or whether or not
             Omron infringed it, correct?

       A:     That is correct.

       Q:     You were personally not involved in detailed conversations regarding
              either of those issues when you were at Osha, correct?

       A:     That is correct.86

       *                                   *                                    *

       Q(by Mr. Raley):   So bottom line, you never worked on the NOV versus
             Omron matter when you were at Osha Liang, correct?

       A:     That’s correct.

       Q:     You never worked on the NOV versus Omron matter when you were at
              Raley & Bowick?

       A:     That’s correct.87

       *                                   *                                    *

       Q(by Mr. Raley):      So to sum up, you had no client confidences about the 142
             validity prior art analysis to share with us because you were not involved
             with those at Osha Liang?

       A:     That’s what [sic] correct.

       Q:     You could not share them with us even if you were the sort of unethical
              person that would do something like that and we were the sort of unethical
              people that would listen. You could not share them with us because you
              didn’t know them?

       A:     That’s correct.

       Q:     And you left us five months ago?


85
   Ex. A (Wunder Depo. at 86:10 – 14).
86
   Ex. A (Wunder Depo. at 113:9 – 16).
87
   Ex. A (Wunder Depo. at 114:17 – 23).
                                                 24
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       A:     That’s true.

       Q:     And the alleged client confidence have now been produced in the case and
              they are going to use them?

       A:     The opinions have been produced.

       Q:     In answer to clients – in answer to counsel’s questions, you said the
              meetings were devoted to the Canrig case and the subject of Delta p may
              have come up with the idea that this is something that should be discussed,
              but you did not participate in any of the detailed discussion, correct?

       A:     That’s correct.88

Wunder has never even read NOV’s ‘142 Patent:

       Q(by Mr. Raley):      Have you ever read the Bowden 142 Patent that NOV has
             purchased?

       A:     To the best of my – to the best of my knowledge, I have never read the
              patent.

       Q:     Have you ever even glanced at the claims of the 142 Patent?

       A:     No to my knowledge.

       Q:     Have you ever compared the claims to Omron’s automatic driller tool?

       A:     To my knowledge, no.89

       Omron’s disqualification argument is impossible under the facts in evidence. Wunder

did no work of any sort pertaining to the ‘142 Patent at either law firm. Indeed, Wunder does not

even know what the technology of the ‘142 Patent relates to.90




88
   Ex. A (Wunder Depo. at 121:9 – 122:7).
89
   Ex. A (Wunder Depo. at 34:12 – 25).
90
   Ex. A (Wunder Depo. 34:12 – 25).
                                               25
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         2.     Omron’s declarations are not credible, and are completely trumped by
                Wunder’s testimony.

         Omron presents self-serving declarations from its in-house attorney, Blake Thatcher, and

a prior Osha Liang attorney, H. Lee Huddleston, Jr. (a disgruntled lawyer Wunder once fired

from the Canrig case for poor performance).91 These declarations must be disregarded for

several reasons.

         Omron’s declarations from interested parties are not credible.     The declarants have

concealed themselves from cross examination. On the other hand, Wunder has testified, is no

longer employed at Raley & Bowick, has no interest in this case, and has no incentive to be

untruthful. He is in the best position to testify about the work that he performed – or did not

perform. He was cross examined at length by Omron’s attorneys and has made himself available

as a disinterested witness.

         Conversely, Omron’s in-house lawyer has every incentive to delay this case and force

NOV to hire new counsel at this late stage of litigation. If Omron prevails, NOV will suffer

significant prejudice and be forced to pay its new lawyers to review several years of litigation

history in an effort to prepare for trial. Omron does not want to go to trial in this case. This

disqualification motion appears to be pure gamesmanship to either force a continuance or harm

NOV’s ability to prepare for trial.

         Further, Texas and federal courts universally hold that declarations (or affidavits) are

never as credible as live testimony. The United States Supreme Court has held: “In almost

every setting where important decisions turn on questions of fact, due process requires an




91
     Omron’s Motion at Exhibits A & C.
                                                26
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opportunity to confront and cross-examine adverse witnesses.”92 The Texas Supreme Court has

held:

        Cross-examination is a safeguard essential to a fair trial and a cornerstone in
        the quest for truth. Longstanding principles of our jurisprudence recognize
        the right and necessity of full and complete cross-examination.93

Texas appellate courts have emphasized the importance of “broad and wide-ranging” cross

examination:

        The allowed scope of cross-examination is broad and wide-ranging and extends to
        any matter relevant to the issues. Hogue v. Kroger Store No. 107, 875 S.W.2d
        477, 480 (Tex.App.—Houston [1st Dist.] 1994, writ denied). Relevancy permits
        inquiry into the witness's interest, bias, motives, inclinations, and prejudices. Id.
        In Texas Employers' Insurance Ass'n v. Garza, 308 S.W.2d 521, 527
        (Tex.Civ.App.—Amarillo 1957, writ ref'd n.r.e)94

        Federal and Texas courts routinely deny summary judgment affidavits based on the same

concerns raised in this case – they lack credibility, particularly when parties present differing

issues of fact: “Conclusory affidavits are not enough to raise fact issues. They are not credible

nor susceptible to being readily controverted.”95

        Omron has had the opportunity to talk to and cross examine Wunder and to develop any

facts it wanted. Conversely, NOV has been denied any opportunity to cross examine Thatcher

and Huddleston. They hide behind vague declarations crafted by Omron’s counsel to assist in

filing an eleventh-hour motion to disqualify. Omron’s declarations should be disregarded in

their entirety because there is no evidence of any threat of disclosure.96




92
   Goldberg v. Kelly, 397 U.S. 254, 269, 90 S.Ct. 1011, 1021, 25 L.Ed.2d 287 (1970).
93
   Davidson v. Great Nat. Life Ins. Co., 737 S.W.2d 312, 313 (Tex.1987).
94
   Russell Stover Candies, Inc. v. Elmore, 58 S.W.3d 154, 157 (Tex. App. 2001).
95
   Ryland Group, Inc. v. Hood, et. al., 924 S.W.2d 120, 122 (1996); McIntyre v. Ramirez, 109
S.W.3d 741, 749-50 (Tex. 2003).
96
   Alternatively, if this Court is inclined to consider these declarations, NOV’s attorneys should
be allowed to depose these witnesses
                                                 27
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       3.      Omron’s declarations fail to meet the Fifth Circuit’s specificity requirement.

       Even if the Court considers Omron’s lawyers’ self-serving declarations, it cannot infer

from them that Wunder had any involvement in the ‘142 patent dispute or that Raley & Bowick’s

representation poses any genuine threat of disclosure of any confidential information. The Fifth

Circuit has consistently held that disqualification affidavits must delineate “with specificity the

subject matters, issues, and causes of action presented in the former representation” and that a

“superficial resemblance between the present and prior representations” is not sufficient to

support disqualification.97

       In the Duncan case, Merrill Lynch sought to disqualify its former counsel, Smathers &

Thompson, from representing members of a class action filed against Merrill Lynch. In support

of its disqualification motion, Merrill Lynch submitted an affidavit listing ten matters in which

the firm represented Merrill Lynch over 10 years. The affidavit explained, in general terms, that

the firm represented Merrill Lynch in matters that:

       Involved stock, commodities, municipal and government securities, margin
       accounts, Merrill Lynch's relationships with its customers, Merrill Lynch's
       relationships with its employees, Merrill Lynch’s procedures and its records, the
       rules and regulations of various regulatory bodies, the federal securities laws, the
       Florida securities laws and specifically Chapter 517, class actions and common
       law. The work performed by the Smathers firm has included reviews of Merrill
       Lynch records, conferences with Merrill Lynch officers and employees, legal
       research, depositions, interrogatories, requests to produce, expert witnesses,
       hearings, motions, trials and appeals. The Smathers firm has performed its work
       in various parts of Florida and in New York, and attorneys in the Merrill Lynch
       Law Department have worked closely with lawyers from the Smathers firm, as
       have other Merrill Lynch representatives who were involved in the matters. In
       connection with these listed cases, Merrill Lynch has paid the Smathers firm some
       $85,000 in the last five years.98




97
    Duncan v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 646 F.2d 1020, 1029 (5th Cir.1981),
disavowed on other grounds.
98
   Id.
                                                28
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          Merrill Lynch provided an additional affidavit which elaborated on several of the cases.

The Fifth Circuit held these affidavits failed to describe with sufficient detail the relationship

between the firm’s prior and present representations or that the firm had knowledge of Merrill

Lynch’s practices and procedures which were the subject matter of the current suit. It cautioned

that the district court must focus on “the precise nature of the relationship between the present

and former representation” and conduct a “painstaking analysis of the facts.”99

          Omron’s declarations are far less precise than the affidavits of Duncan, and utterly fail to

establish that Wunder ever had any substantial relationship with the ‘142 patent. They fail to

describe with any detail what knowledge Wunder allegedly had related to the issues before this

Court.

          Huddleston opines that Wunder “was involved in counseling Omron” regarding the

patent and participated in phone calls and emails, but he provides no detail about what was

allegedly discussed. Huddleston does not claim Wunder reviewed the patent, advised on the

patent, participated in litigation strategy, or helped prepare any documents. He cannot explain

what confidential information Wunder could possibly have learned.                The declaration of

Huddleston and the emails it relies on suggest only that Wunder may have been privy to a brief

mention of the mere existence of the ‘142 patent. Assuming this is true, it is immaterial.

Wunder could not and cannot share confidential information he never learned.

          Omron’s own declarations establish that anything Wunder might have learned at Osha

Liang was public knowledge. The fact that NOV had an Auto Driller patent and tool was known

publicly, and the fact that Omron had a very similar automatic driller was also known. Under the

circumstances, any possible knowledge by Wunder that litigation might someday occur is self-



99
     Duncan v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 646 F.2d 1020, 1029 (5th Cir.1981).
                                                  29
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evident. Omron’s recent waiver of its attorney-client privilege further eroded any basis for this

motion.

       Thatcher’s declaration is even less meaningful than Huddleston’s. Thatcher recites that

sometime in 2009 or 2010 Omron “thought it might get sued” for infringement of the ‘142

patent. His declaration recites a tortured explanation of how Wunder might have become

involved in the ‘142 patent as a result of his involvement in a completely different case. He also

claims to have had “discussions” with Wunder, and he personally believed Wunder would

“maintain the confidentiality of these matters.” Thatcher, like Huddleston, never states what

“these matters” are or what “disclosure” Wunder could have made to Raley & Bowick.100 These

vague declarations cannot be used to overcome Wunder’s very specific sworn testimony about

his own actions, knowledge, or lack thereof.

       4.      Wunder’s involvement in Canrig v. Omron is not “substantially related” to
               this litigation.

       Wunder was one of several lawyers who represented Omron in the Canrig case. Canrig

has nothing to do with this case for the following reasons:

       a)      Omron admits in its discovery responses that Canrig is not related to this

       case, and should now be judicially estopped from arguing otherwise.101




100
    Curiously, Thatcher’s declaration states, “. . . if Mr. Wunder disclosed to Raley & Bowick the
fact that he had represented Omron during his time at Osha Liang, such disclosure was not
authorized by me.” (Thatcher declaration, p. 2). Taken at its word, Thatcher’s declaration
suggests Wunder had no authority (or duty) to disclose any conflict involving Omron. That is
because Wunder had no conflict.
101
    Ex. F (July 18, 2014 Email from K. Dodd)(“But as a preliminary matter, I believe the
Canrig case involved technology for the rotation of the drill string, which irrelevant to the
‘142 Patent.”); See also Ex. G (Omron’s August 18, 2014 objections to NOV’s
interrogatories)(stating that the Canrig case is irrelevant because it involves completely
different technology).
                                                30
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       b)      The patent examiner, who is presumed to be skilled in the art of the technology he

       or she is examining, never cited NOV’s ‘142 patent while examining Canrig’s patent

       application.102 In re Swanson, 540 F.3d 1368, 1377 (Fed. Cir. 2008). This is because

       Canrig’s patent discloses the use of a top drive motor to control the rotation of drill

       string.103 Canrig’s patent does not mention anything about automatically increasing and

       decreasing the rate of release of drill string in response to changes in drilling fluid

       pressure, which is the invention of the ‘142 patent at issue in this case. 104

       c)      Wunder, an attorney that worked on Canrig, testified that it had nothing to do

       with this litigation.105

The Canrig litigation cannot meet the substantial relationship test.

D.     Omron Long Ago Waived Any Conflict that May Have Existed

       On September 12, 2012, less than a month after NOV filed this suit and prior to Omron’s

answer, Omron’s president Robert Bost contacted Lee Huddleston to ask him for additional

copies of Huddleston’s validity opinion.106 Bost followed up this call to Huddleston, letting him

know that he located the opinions in another Omron employees’ office.107                Huddleston

responded:

       No problem. I’m sure we’ll be in touch at some point regarding the contents.
       Please make certain that you have the two “original” copies of the two opinions.
       Both should be spiral bound and signed in ink (typically blue). Your litigation
       counsel [Foley & Lardner] will want those in a safe place.108


102
    Ex. E (U.S. Patent No. 6,050,348). Although Omron refused to produce its expert reports
from the Canrig case, NOV would bet that Omron’s invalidity expert never mentioned NOV’s
‘142 Patent as having anything to do with the technology disclosed in Canrig’s patent.
103
    Id.
104
    Ex. E (U.S. Patent No. 6,050,348).
105
    Ex. A (Wunder Depo. at 102:15 – 103:9).
106
    Ex. R (OSHA0000037).
107
    Ex. R (OSHA0000037).
108
    Ex. R (OSHA0000037).
                                                 31
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Omron and its counsel have had these two validity opinions during this entire case. There are

several, independent duties that were imposed on Omron to produce these opinions and the

recently alleged conflict documents years ago:

       Duty 1:         On January 15, 2013 (the day after Wunder came to work at Raley &

Bowick), Omron should have produced and listed these validity opinions in Omron’s Fed. R.

Civ. P. 26 disclosures.109

       Duty 2:         On September 25, 2013, NOV sent its first interrogatory asking when

Omron first learned about NOV’s ‘142 Patent. Instead of disclosing the dated opinions plainly

showing when Omron knew about NOV’s ‘142 Patent, Omron responded that “Omron does not

recall exactly when it became aware of the ‘142 patent or how.”110

       Duty 3:         On September 25, 2013, NOV sent its first requests for production asking

very specifically for any documents similar to the alleged conflict documents:

       If Omron plans to present an opinion of counsel defense [to willful infringement],
       produce all documents relating to this opinion, produce the opinion, producing
       billing records and invoices for the opinions, and produce internal communication
       about the opinion.111

Omron responded: “[O]mron will not produce any documents responsive to this request.”112

There is no excuse for Omron to not locate these alleged conflict documents in response to this

request.

       Wunder told attorneys at Osha Liang that he was going to Raley & Bowick, and

Wunder’s profile was put on Raley & Bowick’s webpage. Osha Liang attorneys maintained




109
    Ex. S (Omron’s January 15, 2013 Initial Disclosures).
110
    Ex. P (Omron’s Response to NOV’s First Interrogatories – October 25, 2013).
111
    Ex. Q (Omron’s Response to NOV’s First RFP – October 25, 2013).
112
    Id.
                                                 32
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contact with Omron until at least September 15, 2013 – over a year after this lawsuit was filed.113

Wunder’s employment at Raley & Bowick was never a secret.

           Omron chose to conceal these documents until now. Omron’s failure to timely raise this

issue has waived all rights to any alleged “conflict.” Texas courts have consistently found

waiver present in far shorter time periods than this:

           Buck v. Palmer, 381 S.W.3d 525, 528 (Tex. 2012)(holding that a seven month
            delay to raise a motion to disqualify waived the right to do so);

           Vaughan v. Walther, 875 S.W.2d 690, 690 – 91 (Tex. 1994)(holding that a six
            month delay waived the right to disqualify);

           HECI Exploration Co. v. Clajon Gas Co., 843 S.W.2d 622, 628 – 29 (Tex. App.
            – Austin 1992)(holding that a four month delay waived the right to disqualify);

           Conoco, Inc. v. Baskin, 803 S.W.2d 416, 419 (Tex.App. – El Paso 1991)(holding
            that a four month delay waived the right to disqualify); and

           Carbo Ceramics v. Norton-Alcoa Proppants, 155 F.R.D. 158, 161 (N.D. Tex.
            1994) (disqualification motion raised after years of litigation was too late).

“The untimely urging of a disqualification motion lends support to any suspicion that the motion

is being used as a tactical weapon.” Grant v. Thirteenth Court of Appeals, 888 S.W.2d 466, 468

(Tex. 1994). Omron is attempting a tactical ambush, alleging confidences that do not exist.

E.         All Rules of Reason and Justice Argue Against Disqualification

           Wunder has been gone from Raley & Bowick five months. Wunder testified that he did

no work on any matter “substantially related” to this case and has never had any confidential

information related to this case.114      Raley & Bowick attorneys have submitted affidavits

confirming that they never knew anything about this alleged conflict until it was first raised by

Omron in September, 2014 (four months after Wunder left and over two years after this case was


113
      Ex. O.
114
      Ex. A, Wunder Depo.
                                                 33
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filed).115 NOV has submitted an affidavit confirming that this disqualification would cost it

hundreds of thousands of dollars, delay its recovery, deny its fundamental right to choose its own

counsel, and cause it extreme prejudice by taking away the lawyers most familiar with the ‘142

Patent and the facts of this case.116

        Under these facts, disqualification is highly improper.117      In Carbo Ceramics, an

allegedly conflicted attorney billed 200 hours on the opposing side of the exact same case.118

The plaintiff moved to disqualify and argued that there was an “irrebutable presumption” that

disqualification was necessary.119 Once the alleged conflict was learned, the new law firm

immediately terminated the alleged conflicted lawyer,120 and the defendants who communicated

with the conflicted lawyer submitted affidavits confirming they never received any confidential

information.121 The Court determined not to disqualify defendants:

        Under the circumstances an irrebuttable presumption of imputed knowledge is
        unduly harsh! It is not contrary to Fifth Circuit law to allow the presumption to
        be rebutted, particularly where promulgated ethical standards related to imputed
        knowledge have never been construed or rejected by that Court.

        *                                    *                                     *

        Plaintiffs' second argument attacks the personal integrity of attorneys employed
        by Fish & Richardson and far exceeds the bounds of permissible advocacy. It is
        unworthy of pleadings filed by a licensed lawyer. Without citation to any
        authority Carbo states that the Fifth Circuit has adopted a rule of an irrebuttable
        presumption because of that Court's recognition that a party opposing a motion to
        disqualify “could easily conceal the truth” and that the chances of the proponent
        of the motion being able to ferret out the truth in such circumstances “ranges
        somewhere between slim and none.” The absence of authority is not surprising.
        Indeed counsel may review the entire body of reported opinions of the Fifth


115
    Ex. M (R&B Affidavits).
116
    Ex. T (NOV Affidavit).
117
    Carbo Ceramics, Inc. v. Norton-Alcoa Proppants, 155 F.R.D. 158 (N.D. Tex. 1994).
118
    Id. at 160.
119
    Id.
120
    Id.
121
    Id.
                                                 34
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          Circuit without finding such an expression of crass cynicism directed against the
          legal profession and practicing lawyers.

          While it is within the realm of possibility that unethical conduct has occurred in
          this case, it is appropriate to recall another presumption, that is, that a person who
          makes statements under oath or penalty of perjury is presumed to tell the truth,
          which is a cornerstone of the resolution of disputes under the “rule of law”. Surely
          no less should be presumed with regard to such statements given by attorneys
          who in addition have taken an oath to uphold the law as officers of the court. As
          with most presumptions, this one is also rebuttable. But here Carbo has presented
          not even a hint of an inference of untruth, save for the cynicism expressed by its
          counsel,7 which is not only unseemly but is also totally without merit.

          *                                      *                                      *

          For the reasons stated above, Plaintiffs' motion will be denied. In the alternative if
          the issue be close it is appropriate to consider the effect which disqualification
          would visit on Defendants. As reflected in the affidavit of F. Alan Frick
          (Defendants' Hearing Exhibit 3) Mr. Sutton has represented Defendants
          throughout the course of this litigation, even though he has changed law firms.
          Defendants have also spent approximately $2 million in the defense of this action.
          Disqualification would not only deprive Defendants of their counsel of choice but
          would require the expenditure of additional fees were Defendants required to
          retain new counsel. There are also more subtle prejudicial effects on Defendants'
          litigation of this case. All of the pretrial depositions have been conducted by Fish
          & Richardson attorneys. Having observed witnesses to be called by Plaintiffs
          these attorneys are in a far better position to plan trial strategy, having seen the
          witnesses in person than could a lawyer limited to reviewing the deposition
          transcripts (See Defendants' Hearing Exhibit 34—Supplemental affidavit of
          Michael O. Sutton at ¶ 5).122

          Raley & Bowick could not have terminated Wunder when the alleged conflict was raised

because he left five months earlier. There is absolutely no “reasonable probability” that any

relevant confidences of Omron (which Wunder denies having) could be disclosed to Raley &

Bowick.123 All of NOV’s attorneys have submitted affidavits swearing that they have not




122
      Carbo Ceramics, Inc., 155 F.R.D. at 163-64.
123
      Id. at 163.
                                                     35
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received any confidential information from Wunder.124 Disqualification would be a harsh and

unjust holding because it would be extremely expensive for and prejudicial to NOV.125

         Just last Thursday, the Southern District of New York considered a case where a party

sought to disqualify its opponent’s long-time counsel in a complex case. The court found that

the firm technically had a conflict, but refused to disqualify it because of the prejudice that

would be caused to the client so late in a complex case. The court cautioned, “disqualification

has an immediate adverse effect on the client by separating him from counsel of his choice” and

“disqualification motions are often interposed for tactical reasons [a]nd even when made in the

best of faith . . . inevitably cause delay. . . . Unless an attorney’s conduct tends to ‘taint the

underlying trial,’ . . . courts should be hesitant to disqualify an attorney.” HLP Properties, LLC,

et al. v. Consolidated Edison Company of New York, Inc., 1:14-cv-01383-LGS, (S.D.N.Y.,

10/16/14), Doc. 115, p. 4. The court balanced the potential harm to each party and held:

         . . . the issue of prejudice given the duration of the parties’ dispute – 15 years – is
         critical and weighs heavily against disqualification. Gibson Dunn has represented
         Plaintiffs in connection with the Site since 1999. The case involves complex
         environmental and regulatory matters. It is doubtful, to say the least, that new
         counsel could acquire the knowledge accumulated over the years by Gibson Dunn
         in the time it will take for this case to run its course. . . . Gibson Dunn’s clients,
         the Plaintiffs in this case, have submitted sworn testimony asserting that they will
         be severely prejudiced by loss of counsel for multiple reasons, including that
         Gibson Dunn has already conducted numerous interviews, collected substantial
         data, and spearheaded the search, review and production of data – which is hosted
         on Gibson Dunn’s server, at significant cost to Plaintiffs.

         In contrast, Defendant identifies very modest prejudice to Defendant in the event
         that Gibson Dunn is not disqualified – that Gibson Dunn will be unable to advise
         CEI on document production obligations in this case. . . .

         Denying Plaintiffs their chosen counsel of fifteen years is a harsh remedy.
         Absent any identifiable, material prejudice to Defendant and any indication

124
      Ex. M.
125
      Ex. T.
                                                   36
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       that the integrity of the present legal proceedings will be compromised by
       Gibson Dunn’s continued representation of Plaintiffs, such a remedy is not
       warranted.

Id., at 11 – 12(Emphasis added).

       NOV would be horribly prejudiced to lose its long-time counsel in this complex patent

case. Robert Bowick has been NOV’s primary counsel for the AutoDriller ‘142 patent for 11

years, including representing NOV in three Patent and Trademark proceedings. Raley & Bowick

has extensive work product that reflects an enormous amount of expertise that will be lost if

Raley & Bowick is disqualified.           Such a late recusal would dramatically affect future

proceedings in this case.

        Nowhere in Omron’s motion does it even attempt to state how or why it will be

prejudiced if its motion is denied.126 “[A] court should not disqualify a lawyer for a disciplinary

violation that has not resulted in actual prejudice to the party seeking disqualification.”127 This

failure by Omron to show any actual prejudice (because there is none), when measured against

the overwhelming prejudice to NOV, is solid evidence that this motion was filed merely for

tactical reasons. To reward Omron for gamesmanship would defy justice.

                                     V.       CONCLUSION

       For Omron’s theory that Wunder found and hid confidences about litigation that he never

worked on to have merit, Wunder would have been required to pull off a clandestine operation

rivaling a spy agency, for no apparent benefit, and lie about it later under oath. If this Court

grants Omron’s motion, it will be tacitly endorsing this absurd theory and encouraging lawyers

to fabricate conflicts which will further congest the Court’s docket, cast aspersions on the



126
  Motion at 8.
127
   In re Meador, 968 S.W.2d 346, 350 (Tex.1998) (orig.proceeding); Pollard v. Merkel, 114
S.W.3d 695, 698 (Tex. App.—Dallas 2003, pet. denied)(same).
                                                 37
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profession, and deprive opponents the opportunity to select counsel of their choice. NOV urges

the Court not to allow such an unjust outcome.

       Because Omron has wholly failed to meet its burden to show disqualification is

appropriate and necessary, NOV respectfully asks this Court to deny Omron’s motion and for

any other relief under law or equity to which it is justly entitled.

Date: October 20, 2014                                 Respectfully submitted,

                                                       RALEY & BOWICK, LLP

                                                       /s/ John W. Raley
                                                       John W. Raley
                                                       Robert M. Bowick
                                                       Bradford T. Laney
                                                       1800 Augusta Drive, Suite 300
                                                       Houston, Texas 77057
                                                       (713) 429-8050 (telephone)
                                                       (713) 429-8045 (facsimile)
                                                       JRaley@RaleyBowick.com
                                                       RBowick@RaleyBowick.com
                                                       BLaney@RaleyBowick.com

                                                       ATTORNEYS FOR PLAINTIFF
                                                       NATIONAL OILWELL VARCO, LP




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                               CERTIFICATE OF SERVICE

      The foregoing document was served via electronic case filing to all counsel of record on
October 20, 2014.

Matthew C. Powers
Texas Bar No. 24046650
Graves, Dougherty, Hearon & Moody
401 Congress Ave., Suite 2200
Austin, TX 78701
Phone: (512) 480-5600
Fax: (512) 480-5853

Kimberly K. Dodd
Wisconsin Bar ID. 1044498
Foley & Lardner, LLP
777 East Wisconsin Ave.
Milwaukee, WI 53202-5306
Phone: (414) 271-2400
Fax: (414) 297-4900
Email: kdodd@foley.com

Matthew B. Lowrie
Foley & Lardner, LLP
111 Huntington Ave.
Boston, Massachusetts 02199
Phone: (617) 342-4000
Fax: (617) 342-4001
Email: mlowrie@foley.com

                                                    /s/ Bradford T. Laney
                                                   Bradford T. Laney




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